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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


DIAMONIK HOUGH, et al                                      :      CIVIL ACTION
             Plaintiffs                                    :
                                                           :
       v.                                                  :      NO. 20-3508
                                                           :
CITY OF PHILADELPHIA, et al                                :
               Defendants                                  :
ANTHONY SMITH, et al                                       :      CIVIL ACTION
               Plaintiffs                                  :
                                                           :
       v.                                                  :      NO. 20-3431
                                                           :
CITY OF PHILADELPHIA, et al                                :
               Defendants                                  :
DELANE J. WELTCH, et al                                    :      CIVIL ACTION
               Plaintiffs                                  :
                                                           :
       v.                                                  :      NO. 20-3432
                                                           :
CITY OF PHILADELPHIA, et al                                :
          Defendants                                       :
IAN ZOLITOR, et al                                         :      CIVIL ACTION
                 Plaintiffs                                :
                                                           :
       v.                                                  :      NO. 20-3612
                                                           :
CITY OF PHILADELPHIA, et al                                :
          Defendants                                       :

                                           ORDER

       Following upon the respective Orders from Judges Brody, Schiller and Padova, it is
hereby ORDERED that:

               1. A Status Conference will be held by way of a video platform on
Wednesday, April 7, 2021 at 4:00 p.m. The Court will contact all lead counsel in these cases
with instructions on how to connect to the video platform;

               2. Lead counsel shall meet and confer and provide the Court with a letter
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setting out what they believe would be the most appropriate way to reach a resolution in these
many cases. This submission shall be submitted to Strawbridge_Chambers@paed.uscourts.gov
by noon on Monday, April 5, 2021.


       IT IS SO ORDERED.

                                                   BY THE COURT:

Date: March 23, 2021                                /s/ David R. Strawbridge, USMJ
                                                   David R. Strawbridge
                                                   United States Magistrate Judge
